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 3
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 4   Las Vegas, Nevada 89169
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     Attorney for Defendant, NICHOLAS GARROTT
 6

 7
                                     UNITED STATES DISTRICT COURT
 8
                                              DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,                                    CASE NO. 2:18-cr-00252-JCM-VCF-2
11
                                                    Plaintiff,
12
     vs.
13
     NICHOLAS GARROTT,
14

15                                                  Defendant.

16

17         STIPULATION AND ORDER TO CONTINUE SENTENCING (THIRD REQUEST)
18            IT IS HEREBY STIPULATED by and between Nicholas Garrott, Defendant, by and
19   through his counsel, Paola M. Armeni, Esq., of the law firm of Clark Hill PLC and the Plaintiff,
20   United States of America, by and through Nicholas Trutanich, United States Attorney, and
21   Shaheen P. Torgoley, Assistant United States Attorney, that the Sentencing in the above-captioned
22   matter, currently scheduled for October 23, 2020, at the hour of 10:00 a.m. be vacated and set to a
23   date and time convenient to the Court but not earlier than thirty (30) days.
24            This Stipulation is entered into for the following reasons:
25         1. The parties need additional time to prepare for sentencing. Mr. Torgoley has replaced the
26            original-assigned AUSA and will be handling the sentencing.
27

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                                                             1 of 4
                                                                                  Case No.: 2:18-cr-00252-JCM-VCF-2
     ClarkHill\J2400\393836\260123884.v1-7/7/20
     ClarkHill\J2400\393836\261066858.v2-10/16/20
     Case 2:18-cr-00252-JCM-VCF Document 123
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 1       2. The parties continue to negotiate a component of sentencing which may have an impact on
 2           the parties’ recommendations.
 3       3. Defendant Mr. Nicholas Garrott, has appeared in this case, and is in custody and, along
 4           with the government, agrees to this short continuance.
 5       4. The additional time requested herein is not sought for purposes of delay and the denial of
 6           this request for a continuance could result in a miscarriage of justice.
 7       5. Federal Rule of Criminal Procedure 32(b)(2) permits this Court to continue a sentencing
 8           hearing for good cause. Good cause exists in this case.
 9       6. For all the above-stated reasons, the ends of justice would be best served by a short
10           continuance of the sentencing hearing.
11       7. This is the third request for a continuance of the sentencing hearing.
12    NICHOLAS TRUTANICH                                 CLARK HILL PLC
      UNITED STATES ATTORNEY
13    DISTRICT OF NEVADA
14
      DATED this 16th day of October, 2020.              DATED this 16th day of October, 2020.
15
       /s/ Shaheen P. Torgoley                           /s/Paola M. Armeni
16    Shaheen P. Torgoley                                PAOLA M. ARMENI
      Assistant United States Attorney                   Attorney for Defendant,
17    Attorneys for Plaintiff,                           NICHOLAS GARROTT
18    UNITED STATES OF AMERICA

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                                                                                Case No.: 2:18-cr-00252-JCM-VCF-2
     ClarkHill\J2400\393836\260123884.v1-7/7/20
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     Case 2:18-cr-00252-JCM-VCF Document 123
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 1                                   UNITED STATES DISTRICT COURT
 2                                            DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                                    CASE NO. 2:18-cr-00252-JCM-VCF-2
 4
                                                    Plaintiff,
 5
     vs.
 6

 7   NICHOLAS GARROTT,

 8                                                  Defendant.

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10
                      FINDINGS OF FACT, CONCLUSION OF LAW AND ORDER
11
                Based on the pending Stipulation of counsel, and good cause appearing therefore, the
12
     Court hereby finds that:
13
                                            CONCLUSIONS OF LAW
14
              Based on the fact that counsel has agreed to a continuance, the Court hereby concludes
15
              that:
16
           1. The parties need additional time to prepare for sentencing. Mr. Torgley has replaced the
17
              original-assigned AUSA and will be handling the sentencing.
18
           2. The parties continue to negotiate a component of sentencing which may have an impact on
19
              the parties’ recommendations.
20
           3. Defendant Mr. Nicholas Garrott, has appeared in this case, and is in custody and, along
21
              with the government, agrees to this short continuance.
22
           4. The additional time requested herein is not sought for purposes of delay and the denial of
23
              this request for a continuance could result in a miscarriage of justice.
24
           5. Federal Rule of Criminal Procedure 32(b)(2) permits this Court to continue a sentencing
25
              hearing for good cause. Good cause exists in this case.
26
           6. For all the above-stated reasons, the ends of justice would be best served by a short
27
              continuance of the sentencing hearing.
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                                                                                  Case No.: 2:18-cr-00252-JCM-VCF-2
     ClarkHill\J2400\393836\260123884.v1-7/7/20
     ClarkHill\J2400\393836\261066858.v2-10/16/20
     Case 2:18-cr-00252-JCM-VCF Document 123
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 1         7. This is the third request for a continuance of the sentencing hearing.
 2

 3                                                   ORDER
 4            IT IS HEREBY ORDERED that the sentencing hearing in this matter scheduled for
 5                                                                                       18th day of
     October 23, 2020, at the hour of 10:00 a.m. is hereby vacated and continued to the _____
 6        December
     ______________________,                       11:00
                             2020, at the hour of _________________     a
                                                                    ______.m., in Courtroom
 7   6A.
 8                  October
              DATED this _____16,
                               day2020.
                                   of ________________, 2020.
 9
                                              ________________________________________________
10                                             JAMES C. MAHAN
                                               UNITED STATES DISTRICT COURT JUDGE
11
                                               CASE NO.: 2:18-cr-00252-JCM-VCF-2
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                                                                                Case No.: 2:18-cr-00252-JCM-VCF-2
     ClarkHill\J2400\393836\260123884.v1-7/7/20
     ClarkHill\J2400\393836\261066858.v2-10/16/20
